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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                             BEAUMONT DIVISION

DAVID FISHER,                                 §
                                              §
                     Plaintiff,               §
v.                                            §     Case No. 1:17-cv-00382
                                              §
PRIMERICA LIFE INSURANCE                      §
COMPANY AND ANTHONY                           §
WOODRUFF,                                     §
                                              §
                     Defendants.              §

                             EXHIBIT "A"
              DEFENDANT'S INDEX OF STATE COURT MATTERS

       Defendant Primerica Life Insurance Company, in connection with the removal of

this case to the United States District Court for the Eastern District of Texas, Beaumont

Division, files its index of state court matters, pursuant to Local Rule 81, as follows:

                    State Court Document                                     Date

            1.      Civil Docket Sheet                                       NIA

             2.      Plaintiffs Original Petition                            08-07-2017

             3.     Civil Case Information Sheet                             08-07-2017

             4.      Receipt for Fees                                        08-08-2017

             5.      Citation Issued to Primerica Life Insurance 08-09-2017
                     Company

             6.     Citation Issued to Anthony Woodruff                      08-09-2017




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                                          Respectfully submitted,


                                          By: /s/ Bill E. Davidoff
                                               Bill E. Davidoff
                                               Texas Bar No. 00790565
                                               bill. davidoff@figdav. com

                                           FIGARI + DAVENPORT, LLP
                                           901 Main Street, Suite 3400
                                           Dallas, Texas 75202
                                           Telephone: 214.939.2000
                                           Facsimile: 214.939.2090

                                           ATTORNEYS       FOR     DEFENDANT
                                           PRIMERICA LIFE INSURANCE COMPANY

                             CERTIFICATE OF SERVICE

       I hereby certify that on the 1 l th day of September, 2017, I electronically filed the
foregoing with the Clerk of Court using the CM/ECF system which will send notification
of such filing to all parties who have appeared and registered with CM/ECF.


                                        /s/ Bill E. Davidoff
                                       Bill E. Davidoff




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                        EXHIBIT "1"
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                  7 TO CURRENT                               CIVIL DOCKET, DISTRICT COURT                                 CASE NO. E-0200489-


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      DAVID FISHER,                                            IN THE CIVIL DISTRICT COURT
      Plaintiff

      V   .                                                           JUDICIAL DISTRICT

      PRIMERICA LIFE INSURNACE
      COMPANY, et al
      Defendants                                               JEFFERSON, TEXAS


                                       PLAINTIFF'S ORIGINAL PETITION



TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, DAVID FISHER (herein "Plaintiff'), who files this, its Original Petition and

Requests for Disclosure, against PRIMERICA LIFE INSURNACE COMPANY (herein "DEFENDANT

INSURANCE COMPANY") and ANTHONY WOODRUFF (herein "DEFENDANT WOODRUFF") (all

defendants collectively referred to as "Defendant" or "Defendants") for cause of action would respectfully

show the court as follows:

                                                         I.

                                            Discovery Control Plan

   1. Plaintiff intends for discovery to be conducted under Level 2 of Rule 190 of the Texas Rules of Civil

       Procedure,



                                                     Parties

   2, Plaintiff is an individual who resides in Texas,

   3. DEFENDANT INSURANCE COMPANY is a Texas "Foreign" company registered to engage in the

       business of insurance in the State of Texas. This Defendant may be served with process by in person or

       certified mail, return receipt requested, by serving: (1) the president, an active vice president, secretary,
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   or attorney in fact at the home office or principal place of business of the company; or (2) leaving a

   copy of the process at the home office or principal business office of the company during regular

   business hours. Defendant's attorney for service: CT CORPORATION SYSTEM, 1999 BRYAN ST,

   SUITE 900, DALLAS, TX 75201-3136.

4. DEFENDANT WOODRUFF is an individual who may be served with process in person or by

   certified mail to her residence at 28095 ROBINSON ROAD, CONROE, TX 77385-7525.



                                              Jurisdiction

5, The court has jurisdiction over the cause of action because the amount in controversy is within the

   jurisdictional limits of the court. Specifically, Plaintiff seeks monetary relief of $200,000 but not to

   exceed $1,000,000.

6, The Court has jurisdiction over Defendants because DEFENDANT INSURANCE COMPANY

   engages in the business of insurance in the State of Texas and the cause of action arises out of

   DEFENDANT INSURANCE COMPANY'S business activities in the State of Texas.

                                                  IV.

                                                 Venue

7. Venue is proper in JEFFERSON, Texas because the insurance contract was signed in JEFFERSON,

   Texas.


                                                   V.

                                                 Facts


8. For many years, Michael Fisher was insured with DEFENDANT INSURANCE COMPANY for life

   insurance.
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9. At no times has Michael Fisher ever wanted to cancel this insurance policy but, as a result of a bitter
   divorce, was the victim of identity theft and an ex-spouse's lover impersonating him.

10.On September 19, 2013 Anthony Woodruff called DEFENDANT INSURANCE COMPANY

   impersonating Michael Fisher, the deceased, and requested to cancel the underlying insurance policy.

11.Unbeknownst to Michael Fisher, Anthony Woodruff then reinstated the insurance policy where the

   was no lapse period.

12.Anthony Woodruff then continued to forge Michael Fisher's name and information on the application

   for insurance for the reinstatement.

13.Michael Fisher ultimately died on December 17, 2014.

14.David Fisher, Michael Fisher's brother, is beneficiary of Texas Life Insurance Policy number

    04-31115819 issued by DEFENDANT INSURANCE COMPANY (hereinafter referred to as "the

    policy.")

15.David Fisher (herein "Plaintiff') submitted its claim to DEFENDANT INSURANCE COMPANY

    with date of death of December 17, 2014 for MICHAEL FISHER, the deceased insured.

16.DEFENDANT INSURANCE COMPANY assigned claim number 2014357063 to Plaintiff s claim,

17.DEFENDANT INSURANCE COMPANY improperly denied the claim with obvious knowledge and

    evidence of the death of the insured for a covered peril.

18.More specifically, DEFENDANT INSURANCE COMPANY attempts to use the two year

    contestability clause but cannot and will never be able to show that the deceased insured intended to

    deceive them.
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19. DEFENDANT INSURANCE COMPANY failed to perform its contractual duty to adequately

   compensate Plaintiff under the terms of the policy and has knowingly and intentionally breached its

   contract.


20, DEFENDANT INSURANCE COMPANY failed and refused to pay the full proceeds of the policy

   although due demand was made for proceeds to be paid of the face amount of the policy and all

   conditions precedent to recovery upon the policy had been carried out and accomplished by Plaintiff.

   Such conduct constitutes breach of the insurance contract between DEFENDANT INSURANCE

   COMPANY and Plaintiff.

21. DEFENDANT INSURANCE COMPANY misrepresented to Plaintiff that the insured person was not

   covered by such peril even though the death was a covered occurrence. DEFENDANT INSURANCE

   COMPANY knew and ignored the obvious signs that MICHAEL FISHER didn't call to cancel his

   policy and that his application was forged.

22. DEFENDANT WOODRUFF misrepresented to Plaintiff that the insured person was covered by such

   peril although DEFENDANT INSURANCE COMPANY denied such coverage. Defendants conduct

   constitutes violations of the Texas Insurance Code.

23. DEFENDANT INSURANCE COMPANY failed to make an attempt to settle Plaintiffs claim in a fair

   manner although they were aware of their liability to Plaintiff under the policy. DEFENDANT

   INSURANCE COMPANY's conduct constitutes violations of the Texas Unfair Competition and

   Unfair Practices Act. TEX. INS. CODE § 541.060(2).


24. DEFENDANT INSURANCE COMPANY failed to explain to Plaintiff the reasons for its offer of an

   inadequate settlement. Specifically, DEFENDANT INSURANCE COMPANY failed to offer

   Plaintiff adequate compensation, without any explanations why full payment was not being made.
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   Furthermore, DEFENDANT INSURANCE COMPANY did not communicate that any future

   settlements or payments would be forthcoming to pay for the entire losses covered under the policies

   nor did it provide any explanation for the failure to adequately settle Plaintiffs claim. DEFENDANT

   INSURANCE COMPANY's conduct constitutes violations of the Texas Unfair Competition and

   Unfair Practices Act. TEX. INS. CODE § 541.060(3).


25. DEFENDANT INSURANCE COMPANY failed to affirm or deny coverage of Plaintiff's claims

   within a reasonable time. Specifically, Plaintiff did not receive timely indication of acceptance or

   rejection, regarding the full and entire claims, in writing from DEFENDANT INSURANCE

   COMPANY. DEFENDANT INSURANCE COMPANY's conduct constitutes violations of the Texas

   Unfair Competition and Unfair Practices Act. TEX. INS. CODE § 541 060(4).


26, DEFENDANT INSURANCE COMPANY refused to fully compensate Plaintiff, under the terms of

   the policy, even though DEFENDANT INSURANCE COMPANY failed to conduct a reasonable

   investigation. Specifically, DEFENDANT INSURANCE COMPANY performed an

   outcome-oriented investigation of Plaintiffs claim, which resulted in a biased, unfair and inequitable

   evaluation of Plaintiffs losses on the deceased insured. DEFENDANT INSURANCE COMPANY's

   conduct constitutes violations of the Texas Unfair Competition and Unfair Practices Act. TEX. INS.

   CODE § 541.060(7).


27. DEFENDANT INSURANCE COMPANY failed to meet its obligations under the Texas Insurance

   Code regarding acknowledging Plaintiff's claims, beginning investigations to Plaintiff's claims and

   requesting all information reasonably necessary to investigate Plaintiff's claim within fifteen (15)

   days of receiving notice of Plaintiff's claims. DEFENDANT INSURANCE COMPANY's conduct

   constitutes violations of the Texas Prompt Payment of Claims Act. TEX. INS. CODE § 542.055.

28. DEFENDANT INSURANCE COMPANY failed to accept or deny Plaintiffs full and entire claims
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   within fifteen (15) business days of receiving all required information. DEFENDANT INSURANCE
   COMPANY's conduct constitutes a violation of the Texas Prompt Payment of Claims Act. TEX. INS.

   CODE § 542.056.

29. DEFENDANT INSURANCE COMPANY failed to meet its obligations under the Texas Insurance

   Code regarding payment of claims without delay. Specifically, DEFENDANT INSURANCE

   COMPANY has delayed full payment of Plaintiffs claims longer than allowed and, to date, Plaintiff

   has not yet received full payment for the claims, DEFENDANT INSURANCE COMPANY's conduct
   constitutes a violation of the Texas Prompt Payment of Claims Act. TEX. INS. CODE § 542.055.

30.From and after the time Plaintiffs claims were presented to DEFENDANT INSURANCE COMPANY,

   the liability of DEFENDANT INSURANCE COMPANY to pay the full claims in accordance with the

   terms of the policy was reasonably clear. However, DEFENDANT INSURANCE COMPANY has

   refused to pay Plaintiff in full, despite there being no basis whatsoever on which a reasonable

   insurance company would have relied on to deny the full payment. Furthermore, being fully aware that

   Plaintiff had a valid claim for policy benefits, DEFENDANT INSURANCE COMPANY canceled the

   policy in question. DEFENDANT INSIJRANCE COMPANY's conduct equates to breaches of the
   common law duty of good faith and fair dealing.


31. As a result of DEFENDANT INSURANCE COMPANY's acts and omissions, Plaintiff was forced to

   retain the attorney who is representing Plaintiff in this cause of action. Plaintiff s attorney took this

   case on a contingency fee of forty-five percent. As a matter of law, Plaintiff is entitled to have

   DEFENDANT INSURANCE COMPANY pay for her attorney fees in such contingent manner.


32.Plaintiffs experience is not an isolated case. The acts and omissions DEFENDANT INSURANCE

   COMPANY committed in this case, or similar acts and omissions, occur with such frequency that they
   constitute a general business practice of DEFENDANT INSURANCE COMPANY with regard to
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   handling these types of claims. DEFENDANT INSURANCE COMPANY's entire process is unfairly

   designed to reach favorable outcomes for the company at the expense of the policyholders.


                                                  VI.

                                           Causes of Action:


33. Plaintiff incorporates the above Paragraphs by reference.


                  COUNT 1: AGAINST DEFENDANT INSURANCE COMPANY

                                            Breach of Contract


34. DEFENDANT INSURANCE COMPANY'S conduct, as described above, constitutes a breach of the

   insurance contract made between DEFENDANT INSURANCE COMPANY and Plaintiff.


35. DEFENDANT INSURANCE COMPANY'S failure and refusal, as described above, to pay the

   adequate compensation as is obligated to do under the terms of the policy in question and under the

   laws of the State of Texas, constitutes material breaches of the insurance contract with Plaintiff.

   Furthermore, Plaintiff has suffered damages in the form of actual damages, consequential damages

   and reasonable and necessary attorney's fees for such violations of the Texas Insurance Code


36. DEFENDANT INSURANCE COMPANY'S conduct constitutes multiple violations of the Texas

    Unfair Compensation and Unfair Practices Act. TEX. INS. CODE, Chapter 541. All violations under

    this article are made actionable by TEX. INS. CODE § 541.151.


37, DEFENDANT INSURANCE COMPANY and DEFENDANT WOODRUFF'S unfair practice, as

    described above, of misrepresenting to Plaintiff material facts relating to the coverage at issue,

    constitutes an unfair method of competition and an unfair and deceptive act or practice in the business

    of insurance. TEX. INS. CODE § 541.051, § 541.060 and § 541.061.
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38. DEFENDANT INSURANCE COMPANY'S unfair settlement practice, as described above, of failing

   to attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claims, even

   though DEFENDANT INSURANCE COMPANY'S liability under the policy was reasonably clear,

   constitutes an unfair method of competition and an unfair and deceptive act or practice in the business

   of insurance. TEX. INS. CODE § 541.051, § 541.060 and § 541.061.


39, DEFENDANT INSURANCE COMPANY'S unfair settlement practice, as described above, of failing

   to promptly provide Plaintiff with a reasonable explanation of the basis in the policy, in relation to the

   facts or applicable law, for its offer of a compromise settlement of the claims, constitutes an unfair

   method of competition and an unfair and deceptive act or practice in the business of insurance. TEX.

   INS. CODE § 541.051, § 541.060 and § 541.061.


40. DEFENDANT INSURANCE COMPANY'S unfair settlement practice, as described above, of failing

   within a reasonable time to affirm or deny coverage of the claims Plaintiff or to submit a reservation of

   rights to Plaintiff constitutes an unfair method of competition and an unfair and deceptive act or

   practice in the business of insurance. TEX. INS. CODE § 541.051, § 541.060 and § 541.061.


41, DEFENDANT INSURANCE COMPANY'S unfair settlement practice, as described above, of

   refusing to pay Plaintiffs claims without conducting a reasonable investigation, constitutes an unfair

   method of competition an unfair and deceptive act or practice in the business of insurance. TEX. INS.

   CODE § 541.051, § 541.060, and § 541,061, Noncompliance with Texas Insurance Code Chapter 542:

   "The Prompt Payment of Claims Act"


42. DEFENDANT INSURANCE COMPANY'S conduct constitutes multiple violations of the Texas

   Prompt Payment of Claims Act. TEX. INS. CODE, Chapter 542. All violations made under this article

   are made actionable by TEX. INS. CODE § 542.060.
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43. DEFENDANT INSURANCE COMPANY'S failure, as described above, to acknowledge receipt of

   Plaintiffs claims, commence investigation of the claims, and request from Plaintiff all items,

   statements, and forms that they reasonable believed would be required within the applicable time

   constraints, constitutes a non-payment of the claims. TEX. INS. CODE § 542.055-542.060.


44. DEFENDANT INSURANCE COMPANY'S delay of payment of Plaintiffs claims, as described

   above, following its receipt of all items, statements, and forms reasonably requested and required,

   longer than the amount of time provided for constitutes a non-prompt payment of the claims, TEX,

   INS. CODE § 542.055-542.060.


               COUNT 2: AGAINST DEFENDANT INSURANCE COMPANY

                       Breach of the Duty of Good Faith and Fair Dealing

45. DEFENDANT INSURANCE COMPANY'S conduct constitutes a breach of the common law duty of

   good faith and fair dealing owed to insured's in insurance contracts.

46. DEFENDANT INSURANCE COMPANY'S failure, as described above, to adequately and

   reasonably investigate and evaluate Plaintiffs claims, although at that time DEFENDANTAG knew or

   should have known by the exercise of reasonable diligence that its liability was reasonably clear, as

   well as DEFENDANT INSURANCE COMPANY having canceled Plaintiffs policy, constitutes a

   breach of the duty of good faith and fair dealing.


                           COUNT 3: AGAINST ALL DEFENDANTS

        Deceptive Trade Practices & Unconscionable Conduct — Knowledge and Intent

47. Each of the acts described above, together and singularly, was done "knowingly" and "intentionally"

   and was a producing cause of Plaintiffs damages described therein by Texas Deceptive Trade

   Practices Act.
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48. Each of the acts described above, together and singularly, constitute a violation of the Texas Deceptive

   Trade Practices Act pursuant to its tie-in provision for Insurance Code Violations. Accordingly,

   Plaintiff also brought each and every cause of action alleged above under the Texas Deceptive Trade

   Practices Act pursuant to its tie-in provision.

49. At all times material hereto, Plaintiff was a consumer who purchased insurance products and services

   from Defendants. Defendants have violated the Texas Deceptive Trade Practices Act in one or more of
   the following manners:


                 a.Causing confusion or misunderstanding as to the source, sponsorship, approval, or

                     certification of goods or services;


                 b. Representing the goods or services have sponsorship, approval, characteristics,

                     ingredients, uses, benefits, or qualities which they do not have or that a person has a

                     sponsorship, approval, status, affiliation, or connection which he does not;


                 c.Advertising goods or services with intent not to sell them as advertised;


                 d. Making false or misleading statements of fact concerning the reasons for, existence
                     of, or amount of price reductions;


                 e.Representing that an agreement confers or involves rights, remedies, or obligations

                     which it does not have or involve, or which are prohibited by law;


                 f. Misrepresenting the authority of a salesman, representative or agent to negotiate the

                     final terms of a consumer transaction;


                 g. Failing to disclose information concerning goods or services which was known at the
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                            time of the transaction and such failure to disclose such information was intended to

                            induce the consumer into a transaction into which the consumer would not have

                            entered had the information been disclosed; and/or


                        h. Engaging in an unconscionable course of conduct.


                       COUNT 4: AGAINST DEFENDANT INSURANCE COMPANY

                               Violations of Texas Prompt Payment of Claims Act

      50.DEFENDANT INSURANCE COMPANY'S conduct, as described above, constitutes multiple

          violations of Texas Prompt Payment of Claims Act.

      51.As described above, Plaintiff has a claim under an insurance policy, the insurer is liable for the claim

          and the insurer has failed to comply with the requirement of Texas Prompt Payment of Claims Act.

          TEX. INS. CODE § 542.051-542.061.

      52.As described above, DEFENDANT INSURANCE COMPANY failed to perform one or more of the

          following duties not later than the 15th day (30 th day if Defendant is a surplus lines insurer) after receipt

          of notice of at the claim:'

                        a.Acknowledge the claim. DEFENDANT INSURANCE COMPANY failed to

                            acknowledge receipt of the claim, including separate claims arising from the same

                            incident. TEX. INS. CODE § 542.055(a)(1). See Dunn v. Southern Farm Bur. Cas.

                            Ins. Co., 991 S.W.2d 467, 472 (Tex. App.-Tyler 1999, pet. denied);


                        b. Record the acknowledgement. DEFENDANT INSURANCE COMPANY failed to

                            make a record of the date, means, and content of the acknowledgement. TEX. INS.


1   TEX. INS. CODE § 542.055(a)
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                              CODE § 542.055(c);


                          c.Commence the investigation. DEFENDANT INSURANCE COMPANY failed to

                              make commence a reasonable investigation of the claim. TEX. INS. CODE §

                              542.055(a)(2); and/or


                          d. Request information from the claimant. DEFENDANT INSURANCE COMPANY

                              failed to request from the Plaintiff all items, statements and forms reasonably needed

                              from Plaintiff. TEX. INS. CODE § 542.055(a)(3).


       53. As described above, DEFENDANT INSURANCE COMPANY failed to perform one or more of the

           following duties after DEFENDANT INSURANCE COMPANY received all items, statements, and

           forms reasonable required by the Plaintiff:


                          a.Accept of reject the claim. DEFENDANT INSURANCE COMPANY failed to notify

                              Plaintiff by the 15 th "business day" that DEFENDANT INSURANCE COMPANY

                              either accepts or rejects the claim. 23 TEX. INS. CODE § 542.056(d);


                          b. State reasons for any rejection. DEFENDANT INSURANCE COMPANY failed to

                              notify Plaintiff of any reasons for denying such claim. TEX. INS. CODE §

                              542.056(c);


                          c.Ask for more time and tell why it is needed. DEFENDANT INSURANCE

                              COMPANY failed to notify Plaintiff it needed more time and the reasons for seeking

                              more time. TEX. INS. CODE § 542.056(d);




2   Defendant has not indicated it suspects arson thus allowing 30 days. TEX. INS. CODE § 542.056(b)
3   Defendant has not sought a 45 day extension. TEX. INS. CODE § 542.056(d)
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                d. Pay the claim after accepting. DEFENDANT INSURANCE COMPANY failed to

                    pay the claim within five "business days" or twenty days if DEFENDANT

                    INSURANCE COMPANY is a surplus lines insurer. TEX. INS. CODE §

                    542.057(a),(c);

                e.Pay the claim after the claimant performs any condition. If DEFENDANT

                    INSURANCE COMPANY sought a condition on Plaintiff, it did not pay such claim

                    within five "business days" or twenty days if DEFENDANT INSURANCE

                    COMPANY is a surplus lines insurer after such condition was satisfied. TEX. INS.

                    CODE § 542.057(b); and/or

                f. Pay the claim within 60 days after receipt of information. DEFENDANT

                    INSURANCE COMPANY failed to pay the claim within 60 days after receiving the

                    items requested from Plaintiff. TEX. INS. CODE § 542.058(a).

               COUNT 5: AGAINST DEFENDANT INSURANCE COMPANY

                                      Unfair Insurance Practices

54.DEFENDANT INSURANCE COMPANY's conduct, as described above, constitutes multiple

   violations of Unfair Insurance Practices,

55.DEFENDANT INSURANCE COMPANY engaged in one or more of the following settlement

   practices with respect to a claim made by Plaintiff':

                a.misrepresenting to Plaintiff a material fact or policy provision relating to coverage at

                    issue;
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                        b. failing to attempt in good faith to effectuate a prompt, fair, and equitable settlement
                            of the claim:

              i. with respect to which the DEFENDANT INSURANCE COMPANY' s liability has become

                       reasonably clear; or

              ii. a claim under one portion of the policy of the claim with respect to which the DEFENDANT

                       INSURANCE COMPANY' s liability has become reasonably clear in order to influence

                       Plaintiff to settle an additional claim under another portion of the coverage, unless payment

                       under one portion of the coverage constitutes evidence of liability under another portion of

                       the policy;


                         c.failing to provide promptly to Plaintiff a reasonable explanation of the basis in the

                            policy, in relation to the facts or applicable law, for DEFENDANT INSURANCE

                            COMPANY's denial of the claim or for the offer of a compromise settlement of the
                            claim;


                         d. failing within a reasonable time to:

                  i.       affirm or deny coverage of a claim to Plaintiff;

              iii. submit a reservation of rights to a Plaintiff;


                         e.refusing, failing, or unreasonably delaying an offer of settlement under first-party

                            coverage on the basis that other coverage may be available or that third parties are

                            responsible for the damages suffered, except as may be specifically provided in the

                            policy;


4   TEX. INS. CODE § 541.060
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                       f. undertaking to enforce a full and final release of a claim from a policyholder when only

                           a partial payment has been made, unless the payment is a compromise settlement of a

                           doubtful or disputed claim; and/or

                       g. requiring Plaintiff, as a condition of settling a claim, to produce Plaintiff's federal

                           income tax returns for examination or investigation.

      56. DEFENDANT INSURANCE COMPANY engaged in one or more of the following settlement

          practices with respect to a claim made by Plaintiffs:


                       a.misrepresentations and false advertising of policy contracts;

                       b. false information and advertising generally;

                       c.defamation of insurers or persons engaged in the business of insurance;

                       d. boycott, coercion, and intimidation in the business of insurance;

                       e.false financial statements;

                       f. stock operations and advisory board contracts;

                       g. unfair discrimination;

                       h. rebates;

                       i. deceptive names, words, symbols, devises, and slogans; and/or

                       j. misrepresentation of the insurance policies;


5   TEX. INS. CODE § 541.151
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      57. DEFENDANT INSURANCE COMPANY engaged in one or more of the following settlement

          practices with respect to a claim made by Plaintiff 6:


                       a making an untrue statement of material fact;

                       b. failing to state a material fact necessary to make other statements made not

                           misleading, considering the circumstances under which the statements were made;

                       c.making a statement in such manner as to mislead a reasonably prudent person to a false

                           conclusion of a material fact;

                       d. making a material misstatement of law; and/or

                       e.failing to disclose a matter required by law to be disclosed, including failing to make

                           disclosure in accordance with an other provision of the insurance code.


                                   COUNT 6: AGAINST ALL DEFENDANTS:
                                                         Fraud
      58. In the alternative or in addition to other counts, defendants committed fraud. Defendants made a

          representation to the plaintiff. The representation was material. The representation was false. When

          the defendants made the representation, the defendants knew the representation was false, or made the

          representation recklessly, as a positive assertion, and without knowledge of its truth, The defendants

          made the representation with the intent that the plaintiff act on it. The plaintiff relied on the

          representation and the representation caused the plaintiff injury.

                               COUNT 7: AGMNST DEFENDANT WOODRUFF:
               Tortious Interference with a Contract, Tortious Interference with Inheritance,
                                     and Fraudulent Misrepresentation

6   TEX. INS. CODE § 541.061
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   59. ANTHONY WOODRUFF impersonated Michael Fisher in an effort to cancel his life insurance.

   60.DAVID FISHER had a reasonable expectation of receiving a gift or benefit of an inheritance from his

         brother, MICHAEL FISHER. However, ANTHONY WOODRUFF interferes when he cancels the

         underlying insurance policy.'

   61.As a result of this tortious conduct, DAVID FISHER suffers money damages.

   62.By impersonating Michael Fisher, ANTHONY WOODRUFF tortuously interfered with the insurance

         contract shared between Michael Fisher and DEFENDANT INSURANCE COMPANY to which

         DAVID FISHER was a beneficiary.

   63.By ANTHONY WOODRUFF'S fraudulent misrepresentation, namely that he was MICHAEL

         FISHER, DAVID FISHER suffered damages.

                                               Exemplary Damages

   64.DAVID FISHER'S injury results from ANTHONY WOODRUFF'S malice, which entitles him to

          exemplary damages under Texas Civil Practice & Remedies Code section 41.003(a).


                                                        VIII.

                                          AFFIRMATIVE DEFENSES

   65. Waiver. DEFENDANT INSURANCE COMPANY is not entitled to subrogation due to waiver.

          Specifically, DEFENDANT INSURANCE COMPANY made an unconditional denial of liability

          thereby waiving its right to subrogation. Furthermore, Defendants knew of the deceased insured's

          medical history, prefilled his application for insurance benefits, and waived its right to rely on any

          misstatements on the deceased insured's application for life insurance.

    66. Contra Proferuntum. DEFENDANT INSURANCE COMPANY' s contract is unilateral and in the

          event of ambiguity must be held against the drafter.


7 See   King v. Acker, 725 S.W.2d 750 (Tex. App.-Houston [1st Dist.] 1987, no writ)
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67. Lack of Materiality and No Intent to Deceive. Had the true facts been known to the prudent

   underwriter it would not have affected the underwriters decision to issue the policy or the underwriter

   would not have increased the amount of premium charged. Furthermore, as DEFENDANT

   INSURANCE COMPANY's insurance agent is a family friend, filled out the insurance application,

   and is familiar with the deceased insured's medical history, Plaintiff had no intent to deceive

   Defendants.

                                                  VIII.

                                           JURY DEMAND

68. Plaintiff respectfully demands a trial by jury and will remit such fee.

                                                   IX.

                 PLAINTIFF MAKES 194 REOUESTS TO ALL DEFENDANTS

69. Pursuant to Rule 194, Defendants are requested to disclose, within 30 days of service of this request,
   the information or material described in Rule 194.2.



                                                   Respectfully Submitted,


                                                   DICK LAW FIRM, PLLC




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                                     EXHIBIT "A"
                     PLAINTIFF'S FIRST SET OF INTERROGATORIES

                                               I.
                                          DEFINITIONS:

     1, "You" or "Your" means the party responding to these requests.

     2. "The Policy" means the insurance policy that is the basis of claims made against
        Defendant in this lawsuit.

     3. "Your Counsel" means the attorney or attorneys who are representing or have represented
        you either with regard to the claim or in this lawsuit.

     4. The Claim" means the insurance claim made the basis of the breach of contract claim
        made against Defendant in this lawsuit.

     5. "Written Communication" means the conveyance of information by a writing, whether by
        letters, e-mails, memoranda, handwritten notes and/or faxes.

     6. "Document" means letters, words or numbers or their equivalent, set down by
        handwriting, typewriting, printing, photostating, photographing, magnetic or electronic
        impulse, mechanical or electronic recording, or other form of data compilation. See Texas
        Rule of Evidence 1001(a). "Document" specifically includes information that exists in
        electronic or magnetic foini.

     7. "Witness Statement" means the statement of any person with knowledge of relevant
        facts, regardless of when the statement was made, and is a (1) written statement signed or
        otherwise adopted or approved in writing by the person making it, or (2) a stenographic,
        mechanical, electrical, or other type of recording of a witness's oral statement, or any
        substantially verbatim transcript of such recording. See Texas Rule of Civil Procedure
        192.3(h).

     8. "Date" means the exact date, month and year, if ascertainable, or, if not, the best
        available approximation.

                                               II.
                                         INSTRUCTIONS:

  1. You are requested to produce photographs, video recordings and audio recordings that were
  created or stored electronically.

  2. Pursuant to Rule 196.4, you are requested to produce electronic or magnetic data responsive to
  the Requests for Production below in tiff or pdf searchable format, including email, instant
  message and pdf forms of the documents.
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                                         INTERROGATORIES

  1. Please identify any person you expect to call to testify at the time of trial.

 ANSWER:

 2. Identify the persons involved in the investigation and handling of Plaintiff's claim for
 insurance benefits arising from the claim subject of this suit, and include a brief description of
 the involvement of each person identified, their employer, and the date(s) of such involvement.

 ANSWER:

 3. If you performed any investigative steps in addition to what is reflected in the claims file,
 please generally describe those investigative steps conducted by you or any of your
 representatives with respect to the facts surrounding the circumstances of the subject loss.
 Identify the persons involved in each step.

 ANSWER:

 4. Identify by date, author, and result the medical reports and other reports generated as a result
 of your investigation.

 ANSWER:

 5. State the following concerning notice of claim and timing of payment:
 a. The date and manner in which you received notice of the claim
 b. The date and manner in which you acknowledged receipt of the claim
 c. The date and manner in which you commenced investigation of the claim
 d. The date and manner in which you requested from the claimant all items, statements, and
 forms that you reasonably believed, at the time, would be required from the claimant
 e. The date and manner in which you notified the claimant in writing of the acceptance or
 rejection of the claim

 ANSWER:

  6. Identify by date, amount and reason, the insurance payments made by you to the Plaintiff.

 ANSWER:

  7. Has Plaintiff's claim for insurance benefits been rejected or denied? If so, state the reasons for
  denying the claim.

  ANSWER:
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 8. Please identify the written procedures or policies (including document(s) maintained in
 electronic form) you maintained for your internal or third party adjusters to use in connection
 with handling life insurance claims arising out of the claim subject of this suit.

 ANSWER:

 9. When was the date you anticipated litigation?

 ANSWER:

 10.Within the last two years, what documents (including those maintained electronically)
 relating to the investigation or handling of a claim for insurance benefits in Texas are routinely
 generated during the course of the investigation and handling of a claim by you (e.g.
 Investigation Reports; z-records; reserves sheet; electronic claims diary; a claims review report;
 team controversion report)?

 ANSWER:

 11.Have any documents (including those maintained electronically) relating to the investigation
 or handling of Plaintiff's claim for insurance benefits been destroyed or disposed of? If so, please
 identify what, when and why the document was destroyed, and describe your document retention
 policy.

  ANSWER:

 12.Do you contend that any act or omission by the Plaintiffs voided, nullified, waived or
 breached the insurance policy in any way? If so, state the general factual bases for this
 contention.

  ANSWER:

  13.Do you contend that the Plaintiff failed to satisfy any condition precedent or covenant of the
  policy in any way? If so, state the general factual bases for this contention.

  ANSWER:

  14.How is the performance of the adjusters involved in handling Plaintiff's claim evaluated?
  State the following:
  a. what performance measures are used
  b. describe your bonus or incentive plan for adjusters

  ANSWER:
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                                   EXHIBIT "B"
              PLAINTIFF'S FIRST SET OF REQUESTS FOR PRODUCTION

                                              I.
                                         DEFINITIONS:

    1, 1. 'You" or "Your" means the party responding to these requests.

    2. "The Policy" means the insurance policy that is the basis of claims made against
       Defendant in this lawsuit.

    3. "Your Counsel" means the attorney or attorneys who are representing or have represented
       you either with regard to the claim or in this lawsuit.

    4. The Claim" means the insurance claim made the basis of the breach of contract claim
       made against Defendant in this lawsuit.

    5. "Written Communication" means the conveyance of information by a writing, whether by
       letters, e-mails, memoranda, handwritten notes and/or faxes.

    6. "Document" means letters, words or numbers or their equivalent, set down by
       handwriting, typewriting, printing, photostating, photographing, magnetic or electronic
       impulse, mechanical or electronic recording, or other form of data compilation. See Texas
       Rule of Evidence 1001(a). "Document" specifically includes information that exists in
       electronic or magnetic form.

    7. "Witness Statement" means the statement of any person with knowledge of relevant
       facts, regardless of when the statement was made, and is a (1) written statement signed or
       otherwise adopted or approved in writing by the person making it, or (2) a stenographic,
       mechanical, electrical, or other type of recording of a witness's oral statement, or any
       substantially verbatim transcript of such recording. See Texas Rule of Civil Procedure
       192.3(h).

    8. "Date" means the exact date, month and year, if ascertainable, or, if not, the best
       available approximation.


                                        INSTRUCTIONS:

     1. You are requested to produce photographs, video recordings and audio recordings that
        were created or stored electronically.

    2. Pursuant to Rule 196.4, you are requested to produce electronic or magnetic data
       responsive to the Requests for Production below in tiff or pdf searchable format,
       including email, instant message and pdf forms of the documents.
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                     PRODUCTION PROTOCOL RELATING TO
                    ELECTRONICALLY STORED INFORMATION
            (ESI ATTENDANT TO DISCOVERY REQUESTS TO DEFENDANT)

     1. "Information items" as used herein encompasses individual documents and records
        (including associated metadata) whether on paper or film, as discrete "files" stored
        electronically, optically, or magnetically or as a record within a database, archive, or
        container file. The term should be read broadly to include e-mails, messaging, word
        processed documents, digital presentations, and spreadsheets.

     2. Consistent with Texas Rule of Civil Procedure 196.4, responsive electronically stored
        information (ESI) has been requested by Plaintiff in its native form; that is, in the form in
        which the information was customarily created, used, and stored by the native application
        employed by the producing party in the ordinary course of business. The producing party
        shall not produce in a format not requested and later assert that production as a basis of
        not producing in the requested format, except upon agreement by the parties prior to
        production or ordered by the Court. The parties are reminded of their obligation to confer
        and to make reasonable efforts to resolve disputes regarding production without court
        intervention. See In re Weekly Homes, L.P., 295 S.W.3d 309 (Tex.2009); TEX. R. CIV.
        P. 192.4(b).

     3. If it is infeasible or unduly burdensome to produce an item of responsive ESI in its native
        form, it may be produced in an agreed-upon near-native form; that is, in a form in which
        the item can be imported into the native application without a material loss of content,
        structure, or functionality as compared to the native form. Static image production
        formats serve as near-alternatives only for information items that are natively static
        images (i.e., photographs and scans). Any and all agreements between the parties on a
        non-native form of production shall occur prior to initial production and the agreements
        shall be in writing. If no agreement can be made between the parties, consistent with
        Texas Rule of Civil Procedure 196.4, Defendant(s) will object and file with the Court
        evidence that production in native or near-native form is unduly burdensome or requires
        extraordinary steps. In the event the Court determines that production in native or near-
        native format is infeasible, production shall be made in accordance with the instruction of
        this Protocol.

     4, The table below supplies examples or agreed-upon native or near-native forms in which
         specific types of ESI should be produced:

   Source
   .     _ESI
           . _ . _ , _ _ ._ _._ _,. , _ Native or Near Native _Form or Forms Soug_ht
  Microsoft Word documents                 ,DOC, .DOCX
  Microsoft Excel Spreadsheets
  Microsoft PowerPoint
  Presentations                           .PPT, .PPTX
  Microsoft Access Databases            I 745g—R-651i
  wordperfect Documents                   .wpD
  Adobe Acrobat Documents                 .PDF
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  Photo,graphs                               .JPG .PDF
   -mail                                     Messages should beyroduced in a form or forms that
                                             readily support import into standard e-mail client
                                             programs; that is, the form of production should adhere
                                             to                                                  .
                                             the conventions set out in RFC 5322 (the internet e-mail i
                                             standard). For Microsoft Exchange or Outlook

                                        _pro duction_formats_like                       may be
                                          furnished if source foklering, data is preserved and
                                         ,produced. For Lotus Notes makfurnish .NSF files or
                                         .



                                          convert to .PST. If your workflow requires that
                                       1 attachments be extracted and produced separately from
                                          transmittinunessuges, attachments should be produced
                                          in their native forms with parent/child relationships to
                                          the
                                          message and container(s),preserved and produced in a
                                          delimited text file.


    5. Absent the showing of need, a party shall only produce reports from databases that can be
       generated in the ordinary course of business (i.e., without specialized programming
       skills), and these shall be produced in a delimited electronic format preserving field and
       record structures and names, The parties will meet and confer prior to initial production
       regarding programming database productions as necessary.

    6. Information items that are paper documents or that require redaction shall be produced in
       static image formats, e.g., single-page .TIF or multipage .PDF images. If an information
       item contains color, the producing party shall not produce the item in a form that does not
       display color. The full content of each document will be extracted by optical character
       recognition (OCR) or other suitable method to a searchable text file produced with the
       corresponding page image(s) or embedded within the image file.

    7. Parties shall take reasonable steps to ensure that text extraction methods produce usable,
       accurate, and complete searchable text.

    8. Individual information items requiring redaction shall (as feasible) be redacted natively
       or produced in .PDF format and redacted using the Adobe Acrobat redaction feature.
       Redactions shall not be accomplished in a manner that serves to downgrade the ability to
       electronically search the unredacted portions of the item. To the extent a producing party
       asserts that production in .PDF format and redaction using the Adobe Acrobat redaction
       feature is unfeasible, the parties are directed to confer in an attempt to resolve any dispute
       without Court intervention. If the dispute cannot be resolved between the parties, the
       manner of production can be brought before the Court consistent with TEX. R. CIV. P.
       196.4.
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    9. Upon a showing of need, a producing party shall make a reasonable effort to locate and
       produce the native counterpart(s) of any .PDF or .TIF document produced. The parties
       agree to meet and confer prior to initial production regarding production of any such
       documents. This provision shall not serve to require a producing party to reveal redacted
       content.

    10. Except as set out in this Protocol, a party need not produce identical information items in
        more than one form and shall globally de-duplicate identical items across custodians
        using each document's unique MD5 hash value. The content, metadata, and utility of an
        information item shall all be considered in determining whether information items are
        identical, and items reflecting different information shall not be deemed identical.

    11, Production should be made using appropriate electronic media of the producing party's
        choosing provided that the production media chosen not impose undue burden or expense
       upon a recipient. All productions should be encrypted for transmission to the receiving
       party. The producing party shall, contemporaneously with production, supply decryption
        credentials and passwords to the receiving party for all items produced in an encrypted or
       password-protected form.

    12. Each information item produced shall be identified by naming the item to correspond to a
        Bates identifier according to the following protocol:

           •   The first four (4) characters of the filename will reflect a unique alphanumeric
               designation identifying the party making the production

           •   The next nine (9) characters will be a unique, consecutive numeric value assigned
               to the time by the producing party. This value shall be padded with leading zeros
               as needed to preserve its length

           •   The final five (5) characters are reserved to a sequence beginning with an
               underscoreL) followed by a four digit number reflecting pagination of the item
               when printed to a paper or converted to an image format for use in proceedings or
               when attached as exhibits to pleadings.

           •   By way of example, a Microsoft Word document produced by Joe Johnson in its
               native form might be named: JJSN000000123,docx. Were the document printed
               out for use in deposition, page six of the printed item must be embossed with the
               unique identifier JJSNO00000123_0006.

    13, Information items designated Confidential may, at the Producing Party's option:

           •   Be separately produced on electronic production media prominently labeled
               confidential to comply with a Protective Order, if applicable.

           •   When any item so designated is converted to a printed format for any reason or
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               imaged format for use in any submission or proceeding, the printout or page
               image shall bear be labeled confidential on each page in a clear and conspicuous
               manner, but not so as to obscure content.

    14. Producing party shall furnish a delimited load file supplying the metadata field values
        listed below for each information item produced (to the extent the values exist and as
       applicable)

      FIELD

      BeginBates

      EndBates

      B e ginAttach

      EndAttach

       Custodian/Source

       Source File Name

       Source File Path

      From/Author

       To

       CC

       BCC

       D ate Sent

       Time Sent

       Subject/Title

       Last Modified Date
       Last Modified Time

       Document Type

       Redacted Flag (yes/no)

       Hidden Content/Embedded Objects Flag (yes/no)

       Confidential flag (yes/no)
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        MD5Hash value
        Hash De-Duplicated Instances (by full path)
      15.Each production should include a cross-reference load file that correlates the various
         files, images, metadata field values and searchable text produced.
      16.Parties shall respond to each request for production by listing the Bates numbers/ranges
         or responsive documents produced, and where an information item responsive to these
         discovery requests has been withheld or redacted on a claim that it is privileged, the
         producing party shall furnish a privilege log in accordance with Texas Rule of Civil
         Procedure 193.3.

                                        III.
                       REQUEST FOR PRODUCTION OF DOCUMENTS

 1. The claim files from the home, regional, local offices, and third party adjusters/adjusting firms
 regarding the claim that is the subject of this matter, including copies of the file jackets, "field"
 files and notes, and drafts of documents contained in the file.

 RESPONSE:

 2. If you seek to recover attorney's fees in this lawsuit, please produce your attorney fee
 agreement, your attorney fee statements and invoices, any time-keeping records kept by you or
 your attorney, and your checks for payment of attorney's fees or expenses.

 RESPONSE:

  3. The underwriting files referring or relating in any way to the policy at issue in this action,
  including the file folders in which the underwriting documents are kept and drafts of all
  documents in the file.

 RESPONSE:

 4. A certified copy of the insurance policy pertaining to the claims involved in this suit.

 RESPONSE:

  5. For the last two years, your written procedures or policies (including document(s) maintained
  in electronic form) that pertain to the handling of claims in Texas.

  RESPONSE:

  6. The adjusting reports, medical records, and obituary reports prepared concerning Plaintiff's
  underlying claim

  RESPONSE:
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 7. The emails, instant messages, and internal correspondence pertaining to Plaintiff s underlying
 claim.

 RESPONSE:

  8. The applicable file from the office of the insurance agent who sold the policy in question.

 RESPONSE:

 9. The documents reflecting reserves applied to the subject claim.

 RESPONSE:

 10. For the past three years, the portions of the personnel file of the adjuster(s) involved in
 handling Plaintiff s claim that pertain to disciplinary actions associated with claims handling,
 and performance under a bonus or incentive plan.

 RESPONSE:

 11. For the last three years, the managerial bonus or incentive plan for managers responsible for
 claims.

 RESPONSE:

 12. The Complaint Log required to be kept by you for complaints in Texas filed over the past
 three years.

 RESPONSE:

  13. As relating to this underlying lawsuit, produce the responses, including all documents you
  have received, to all requests you have made for Deposition by Written Questions.

  RESPONSE:

  14. If you are requesting Plaintiff pay for your costs and/or expenses incurred as a result of this
  litigation, produce all invoices, statements, payment vouchers, payment records, checks, and
  proof of payment of all costs and/or expenses that you are claiming Plaintiff should be
  responsible for.

  RESPONSE:

  15. Produce the following documents and tangible things that relate to the Policy, insurance
  claims, death or the insured, or reports made the subject matter of this lawsuit:

         A.      All communications between you and any third-party;
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         B.      All communications (including but not limited to e-mail, correspondence and
                 facsimiles) between you and the insurance agent of the policy subject to this
                 lawsuit;
         C.      All documentation (including diaries, notebooks, and memos) of conversations
                 from the Defendant, its agents, adjusters, independent adjusters, investigators,
                 doctors, or attorneys;
         D.      All photographs, electronic recordings, or videotape recordings of the Defendant,
                 its adjusters, independent adjusters, investigators, doctors, or attorneys;
         E.      All written statements of the Defendant, its adjusters, independent adjusters,
                 investigators, doctors or attorneys;
         F.      All written agreements between you and any consultant, doctor, medical
                 professional, adjuster, investigator, insurance agency or carrier;
         G.      All communications between you and any insurance agent, consultant, doctor,
                 medical professional, adjuster, investigator, insurance agency or carrier;
         H.      All reports provided to you by any insurance agent, consultant, doctor, medical
                 professional, adjuster, investigator, insurance agency or carrier;
         I.      All estimates, bids, invoices, billing statements, and payment records (including
                 canceled checks) for goods or services provided to you by any insurance agent,
                 consultant, doctor, medical professional, adjuster, investigator, insurance agency
                 or carrier;
         J.      All documents which you contend you provided to Plaintiff or its agents during
                 the insurance claim process.

  RESPONSE:

  16. As relating to this underlying lawsuit, produce the responses, including all documents you
  have received, to all requests you have made for Deposition by Written Questions.

  RESPONSE:

  17. If you are requesting Plaintiff pay for your costs and/or expenses incurred as a result of this
  litigation, produce all invoices, statements, payment vouchers, payment records, checks, and
  proof of payment of all costs and/or expenses that you are claiming Plaintiff should be
  responsible for.

  RESPONSE:

  18. As relating to this underlying lawsuit, produce the responses, including all documents you
  have received, to all subpoenas issued.

  RESPONSE:
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                                    EXHIBIT "C"
                PLAINTIFF'S FIRST SET OF REQUESTS FOR ADMISSION

                                                   I.
                                           DEFINITIONS:

  1. "You" or "Your" means the party responding to these requests.

 2. "The Policy" means the insurance policy that is the basis of claims made against
 DEFENDANT in this lawsuit.

  3. "Insured Location" means the real property at the location described in the Policy declarations.

  4. "Dwelling" means the dwelling located at the Insured Location at the time of the claim subject
  of this suit.

  5. "Other Structures" means any structures located at the Insured Location during the claim
  subject of this suit that are set apart from the Dwelling by a clear space, including those
  connected only by a fence, utility line, or similar connection.

  6. "Other Damages" means debris removal, temporary repairs, tree and shrub removal, personal
  property removal and storage, loss of use and additional living expenses.

  7. "Personal Property" means any or all of the personal property and business personal property
  that is the subject of the claims made against DEFENDANT in this lawsuit.

  8. "Your Counsel" means the attorney or attorneys who are representing or have represented you
  either with regard to the claim or in this lawsuit.

  9. "The Claim" means the insurance claim made the basis of the breach of contract claim made
  against DEFENDANT in this lawsuit.

  10."Written Communication" means the conveyance of information by a writing, whether by
  letters, e-mails, memoranda, handwritten notes and/or faxes.

  11. "Document" means letters, words or numbers or their equivalent, set down by handwriting,
  typewriting, printing, photostating, photographing, magnetic or electronic impulse, mechanical
  or electronic recording, or other form of data compilation. See Texas Rule of Evidence 1001(a).
  "Document" specifically includes information that exists in electronic or magnetic form.

  12."Witness Statement" means the statement of any person with knowledge of relevant facts,
  regardless of when the statement was made, and is a (1) written statement signed or otherwise
  adopted or approved in writing by the person making it, or (2) a stenographic, mechanical,
  electrical, or other type of recording of a witness's oral statement, or any substantially verbatim
  transcript of such recording. See Texas Rule of Civil Procedure 192.3(h).
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 13. "Date" means the exact date, month and year, if ascertainable, or, if not, the best available
 approximation.


                                         INSTRUCTIONS:

        PLAINTIFF serves these requests for admissions on DEFENDANT, as allowed by Texas
 Rule of Civil Procedure 198.


                                 REQUESTS FOR ADMISSION

  1.    PLAINTIFF received a copy of DEFENDANT' s estimate of damage from the claim
        subject of this lawsuit less than two years and one day before the date this lawsuit was
        filed.

 ANSWER:

  2.    PLAINTIFF received DEFENDANT' s payment of policy benefit for the claim subject of
        this lawsuit less than two years and one day before the date this lawsuit was filed.

 ANSWER:

  3.    PLAINTIFF has communicated with DEFENDANT regarding PLAINTIFF'S claim
        subject of this lawsuit claim for less than two years and one day before the date this
        lawsuit was filed.

 ANSWER:

 4.     PLAINTIFF has communicated with any adjuster hired by DEFENDANT regarding
        PLAINTIFF'S claim subject of this lawsuit claim for less than two years and one day
        before the date this lawsuit was filed.

  ANSWER:

  5.    PLAINTIFF contacted DEFENDANT regarding PLAINTIFF'S claim subject of this
        lawsuit claim for less than two years and one day before the date this lawsuit was filed.

  ANSWER:

  6.    PLAINTIFF contacted any adjuster hired by DEFENDANT regarding PLAINTIFF'S
        claim subject of this lawsuit claim for less than two years and one day before the date this
        lawsuit was filed.

  ANSWER:
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 7.    DEFENDANT denied PLAINTIFF'S claim subject of this lawsuit less than two years
       and one day before the date this lawsuit was filed.

 ANSWER:

 8.    PLMNTIFF was a beneficiary for insurance issued by DEFENDANT for PLAINTIFF'S
       claim subject to this lawsuit.

 ANSWER:

 9.    DEFENDANT paid a portion of PLAINTIFF'S claim subject to this lawsuit.

 ANSWER:
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                                    EXHIBIT "D"
           PLAINTIFF'S MOTION TO COMPEL MEDIATION PURSUANT TO
                   § 541.161 OF THE TEXAS INSURANCE CODE AND
               § 17.5051 OF TEXAS BUSINESS AND COMMERCE CODE
           AND BRIEF IN SUPPORT OF MOTION TO COMPEL MEDIATION

        This Motion to Compel Mediation is brought in accordance with § 541.161 of the Texas
 Insurance Code and § 17.5051 of Texas Business and Commerce Code by Plaintiff. In support,
 they show:

                                            I.
                                    SUMMARY OF THE CASE

  1.    This is a lawsuit regarding damage to an insured property.

 2.      Pursuant to Texas Insurance Code § 541.161 and § 17.5051 of Texas Business and
 Commerce Code, Plaintiff asks this court to compel a mediation in an attempts to timely resolve
 this dispute.


                                        ISSUE PRESENTED

 3.      At the request of a party, not later than the 90t h day after the date a pleading for relief
 under the Texas Insurance Code/Texas Business and Commerce Code has been served, the Court
 shall sign an order setting the time and place for a mediation to occur within 30 days after the
 date of such order.


                              MOTION TO COMPEL MEDIATION

 4.     To promote early resolution of consumer insurance complaints, Texas Insurance Code
 and Texas Business and Commerce Code allows a party to compel another party to mediation by
 seeking mediation within 90 days of filing a petition seeking relief. The mediation must occur
 within 30 days of a signed order. The court may under certain circumstances grant an additional
 30 days in which the mediation can be completed. Such provision allows either the parties to
 agree on a mediator or the court to appoint one.

 5.      Plaintiff believes that there is a reasonable expectation that the disputes in this case may
 be resolved by the use of the alternative dispute resolution procedure of mediation, and Plaintiff
 therefore requests the Court to refer this dispute for resolution by mediation.

 6.     Plaintiff requests that the Court refer this matter to a mediator who is qualified for
 mediation as provided by the Federal Rules. Plaintiff request that the costs of mediation be
 divided as directed per Tex. Ins. Code § 541.161 and Tex. Bus. & Com. Code § 17.5051, paid in
 advance directly to the mediator, and taxed as costs.
Case 1:17-cv-00382-MAC Document 1-1 Filed 09/11/17 Page 41 of 57 PageID #: 44




 7.      Plaintiff prays that the Court grant this Motion for Mediation and render an order of
 referral to mediation pursuant to Texas Insurance Code § 541.161 and § 17.5051 of Texas
 Business and Commerce Code.

                                      IV.
               BRIEF IN SUPPORT OF MOTION TO COMPEL MEDIATION

 8.    § 541.161(a)&(b) of the Texas Insurance Code and § 17.5051(a)&(b) of Texas Business
 and Commerce Code states:

                 A party may, not later than the 90 th day after the date a pleading for relief under
                 this subchapter is served, file a motion to compel mediation of the dispute in the
                 matter provided by this section. The court shall, not later than the 30t h day
                 after the date a motion under this section is filed, sign an order setting the
                 time and place of the mediation.

  9.    § 541.161(c)&(d) of the Texas Insurance Code and § 17.5051(c)&(d) of Texas Business
  and Commerce Code states:

                 The court shall appoint a mediator if the parties do not agree on a mediator. The
                 mediation must be held not later than the 30th day after the date the order is
                 signed, unless:

                     (1) the parties agree otherwise; or

                     (2) the court determines that additional time not to exceed 30 days is
                     warranted.

  10.    Plaintiff has filed a pleading for relief under § 541 of the Texas Insurance Code and/or §
  17 of Texas Business and Commerce Code that was served on Plaintiff within 90 days from this
  motion; therefore, Plaintiff now asks this court to sign an order setting the time and place for
  mediation to be held not later than the 30t h day after such order is signed.

                                                 V.
                                               PRAYER

  11.    For these reasons Plaintiff prays that this court sign an order setting the time and place for
  mediation to occur within 30 days from such order and further names a duly qualified mediator.

                                                Respectfully submitted,

                                                 DICK LAW FIRM, PLLC



                                                 By:
Case 1:17-cv-00382-MAC Document 1-1 Filed 09/11/17 Page 42 of 57 PageID #: 45




                                         Eric Dick, LL.M.
                                         TBN: 24064316
                                         FIN: 1082959
                                         4325 Tulsa Road
                                         Houston, Texas 77092
                                         (832) 207-2007 Telephone
                                         (713) 498-7969 Cellular
                                         (713) 893-6931 Facsimile
                                         eric@dicklawfirm.com
                                         ATTORNEY FOR PLMNTIFF
Case 1:17-cv-00382-MAC Document 1-1 Filed 09/11/17 Page 43 of 57 PageID #: 46




                                        EXHIBIT "D-1"
                               TEXAS INSURANCE CODE § 541.161

 § 541.161. MEDIATION. (a) A party may, not later than the 90th day after the date a pleading
 seeking relief under this subchapter is served, file a motion to compel mediation of the dispute in
 the manner provided by this section.

  (b) The court shall, not later than the 30th day after the date a motion under this section is filed,
  sign an order setting the time and place of the mediation.

  (c) The court shall appoint a mediator if the parties do not agree on a mediator.

  (d) The mediation must be held not later than the 30th day after the date the order is signed,
  unless:

            (1) the parties agree otherwise; or

            (2) the court determines that additional time not to exceed 30 days is warranted.

  (e) Each party who has appeared in the action, except as agreed to by all parties who have
  appeared, shall:

            (1) participate in the mediation; and

            (2) except as provided by Subsection (f), share the mediation fee.

  (f) A party may not compel mediation under this section if the amount of actual damages
  claimed is less than $15,000 unless the party seeking to compel mediation agrees to pay the costs
  of the mediation.

  (g) Except as provided by this section, the following apply to the appointment of a mediator and
  the mediation process provided by this section:

            (1) Section 154.023, Civil Practice and Remedies Code; and

            (2) Subchapters C and D, Chapter 154, Civil Practice and Remedies Code.



                   Added by Acts 2003, 78th Leg., ch. 1274, § 2, eff. April 1, 2005
Case 1:17-cv-00382-MAC Document 1-1 Filed 09/11/17 Page 44 of 57 PageID #: 47




                                  EXHIBIT "D-2"
                   TEXAS BUSINESS AND COMMERCE CODE § 17.5051

            Sec. 17.5051. MEDIATION. (a) A party may, not later than the 90th day after the date
 of service of a pleading in which relief under this subchapter is sought, file a motion to compel
 mediation of the dispute in the manner provided by this section.
            (b) The court shall, not later than the 30th day after the date a motion under this section
 is filed, sign an order setting the time and place of the mediation.
            (c) If the parties do not agree on a mediator, the court shall appoint the mediator.
            (d) Mediation shall be held within 30 days after the date the order is signed, unless the
 parties agree otherwise or the court determines that additional time, not to exceed an additional
 30 days, is warranted.
            (e) Except as agreed to by all parties who have appeared in the action, each party who
 has appeared shall participate in the mediation and, except as provided by Subsection (f), shall
 share the mediation fee.
            (f) A party may not compel mediation under this section if the amount of economic
 damages claimed is less than $15,000, unless the party seeking to compel mediation agrees to
 pay the costs of the mediation.
            (g) Except as provided in this section, Section 154.023, Civil Practice and Remedies
 Code, and Subchapters C and D, Chapter 154, Civil Practice and Remedies Code, apply to the
 appointment of a mediator and to the mediation process provided by this section.
            (h) This section does not apply to an action brought by the attorney general under
 Section 17.47.

  Added by Acts 1995, 74th Leg., ch. 414, Sec. 7, eff. Sept. 1, 1995.
   Case 1:17-cv-00382-MAC Document 1-1 Filed 09/11/17 Page 45 of 57 PageID #: 48




                                        EXHIBIT "E"
                       PLAINTIFF'S DESIGNATION OF EXPERT WITNESSES

NOW COMES Plaintiff who files this, its Designation of Expert Witnesses, and designates the following
expert witnesses, one or more of whom may testify at trial:
                                                       I.
Plaintiff may call the following experts who are is retained:

    1. Eric Dick, LL.M.
        Rogelio Garcia (of Counsel)
        Chris Carmona (of Counsel)
        Dick Law Firm, PLLC
        3701 Brookwoods Dr.
        Houston, Texas 77092
        (832) 207-2007
        (713) 893-6931 Fax

The above attorneys may be called by plaintiff to testify as an expert witness at the trial of this action,
pursuant to Rule 702, Tex. R. Evid., on topics of reasonable and necessary attorney's fees incurred or
recoverable by any party to this lawsuit. Such expert is familiar with the average and reasonable attorney
fees usually and customarily charged by attorneys in various Texas Counties for the handling of similar
claims. The expert identified are aware of the various necessary efforts expended in prosecuting this suit on
behalf of plaintiff, and the reasonable charges therefore, and are expected to testify that the attorney's fees
incurred by plaintiff in its pursuit of this matter are reasonable and necessary, and that the attorney's fees
incurred by defendant may not be reasonable or necessary.

Information regarding Eric Dick:

College:               Thomas M. Cooley
Degree:                Juris Doctorate
Distinctions:          Cum Laude
College:               University of Alabama
Degree:                Masters of Laws and Letters

Notable information: Interned for Michigan's Attorney General in the Tobacco and Special Litigation
Division and worked on the Master Settlement Agreement which is the largest civil settlement in United
States history. Named by Super Lawyers as a Rising Star,

Mr Dick's report and resume, if not attached, will be provided to Defendant and are incorporated by
reference.

The mental impressions and opinions are that fees and costs associated with this litigation are reasonable,
necessary and customary in this county and surrounding counties. A reasonable fee to be charged in this
case is $450.00 per hour in consideration with several factors, including:

    • The nature and complexity of the case;
   Case 1:17-cv-00382-MAC Document 1-1 Filed 09/11/17 Page 46 of 57 PageID #: 49




   •  The nature of the services provided by counsel;
   •  The time required for trial;
   •  The amount of money involved;
   •  The client's interest that is at stake;
   •  The responsibility imposed on counsel;
   •  The skill and expertise involved; and
   •  Those matters enumerated in State Bar Rule 1.04(b) (1)-(8), which are:
         o The time and labor required, the novelty and difficulty of the questions presented and the
              skill required to perform the legal services properly;
         o The likelihood, if apparent to the client, that acceptance of the particular employment will
             preclude other employment by the lawyer;
         o The fee customarily charged in the locality for similar legal services;
         o The amount involved and the results obtained;
         o The time limitations imposed by the client or the circumstances;
         o The nature and length of the professional relationship with the client;
    • The experience, reputation and ability of the lawyer or lawyers performing the service.




Plaintiff reserves the right to supplement this designation further within the time limitations imposed by the
Court and/or by any alterations of same by subsequent Court order and/or by agreement of the parties and/or
pursuant to the Texas Rules of Civil Procedure and/or the Texas Rules of Evidence.



Plaintiff reserves the right to withdraw the designation of any expert witness and to aver positively that such
previously designated expert will not be called as an expert witness at trial and to re-designate same as a
consulting expert, who cannot be called by opposing counsel.

                                                         IV.

Plaintiff reserves the right to elicit by cross-examination the opinion testimony of experts designated and called
by other parties to this suit.
                                                           V.
Plaintiff reserves the right to call undesignated expert witnesses for rebuttal or impeachment, whose identities
and testimony cannot reasonably be foreseen until Defendants have named their experts or presented its evidence
at trial.

                                                         VI.

Plaintiff reserves the right to elicit any expert testimony and/or lay opinion testimony that would assist the jury in
determining material issues of fact and that would not violate the Texas Rules of Civil Procedure and/or the
Texas Rules of Evidence.
   Case 1:17-cv-00382-MAC Document 1-1 Filed 09/11/17 Page 47 of 57 PageID #: 50




                                                       VII.

Plaintiff hereby designates and may call to testify as adverse witnesses any and all witnesses designated by
Defendants hereto and any and all expert witnesses designated by any party, whether or not such person or entity
is still a party hereto at the time of trial.

                                                      VIII.

Plaintiff reserves all additional rights he may have with regard to expert witnesses and testimony under the Texas
Rules of Civil Procedure, the Texas Rules of Evidence, statutes, case law, any orders issued by this Court or
leave granted therefrom.

                                                       Respectfully Submitted,




                                                       Eric Dick, LLM
                                                       TBN: 24064316
                                                       DICK LAW FIRM, PLLC
                                                       3701 Brookwoods Dr.
                                                       Houston, Texas 77092
                                                       (832) 207-2007 Telephone
                                                       (713) 893-6931 Facsimile
                                                       eric@dicklawfirm.com
Case 1:17-cv-00382-MAC Document 1-1 Filed 09/11/17 Page 48 of 57 PageID #: 51




                         EXHIBIT "3"
    Case 1:17-cv-00382-MAC Document 1-1 Filed 09/11/17 Page 49 of 57 PageID #: 52
                                                                                                FILED
                                                                                                DISTRICT CLERK OF
                                                CIVIL CASE INFORMATION SHEET                    JEFFERSON CO TEXAS
                                                                                              , 81712017 4:56 PM
           CAUSE NUMBER (FOR CLERIC USE ONLY.):                     COURT (FOR CLERK USE ONLY):
                                                                                                JAMIE SMIT
                     DEREK THICKLEN VS ACCEPTANCE INDEMNITY INSURANCE COMPANY
             STYLED                                                                             DISTRICT CLERK
                                (e.g., John Smith y. All American Insurance Co; In re Mary Ann Jones; In the Matter of the Estate of Georg° Jackso#4:20048 9
A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civi family law, probate, or mental
health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The information should be the best available at
the time of filing.
                                       •     .   .    •   ,   ;1. , :   ,,..   , ..,   .,..... .
                                                                                            .   , -"••
                                                                                                               .        ,, .    . ,   . ,
                                                                                                                                          .. •
                                                                                                                                            ,           . . ..               .       .
1. Contact information rorj,erson cOMpleting:ease ,.infOrMationslieeti'...             NaMei of PMlies in dase:J .•                      .. : . Person or:entity completing sheet.ls:- •
       ERIC B . DICK                                                                                                                        1/Attorney for Plaintiff/Petitioner
Name:                                      Email:                                      Plaintiff(s)Netitioner(s):                           OPro Se Plaintiff/Petitioner
       DICK LAW FIRm,                                                                                                                       OTitle IV-D Agency
       ATTORNEY                            di cicdicli. t 9 1 1@gxnai 1 . c ora         DEREK       THICKLEN                                Bother:

Address:                                         Telephone:                     -
                                                                                                                                                                            Additional Parties in Child Support Case:
 3701 BROOKWOODS DR .                                     (832) 207-2007
                                                                                                                Defendant(s)/Respondent(s):                                 Custodial Parent:
City/State/Zip:                                      Fax:                                                            ACCEPTANCE INDEMNITY
 HOUSTON, TX 7 7 0 9 2                                    (713 )           893 -693 1                                                                                       Non-Custodial Parent:
                                                                                                                 INSURANCE COMPANY
Si s, •

             _AP                                     State Bar No:
                                                     24 0 643 16

2. InclicaM case ty • ei or identif the mOst im • o tan tissue irt. the case fselec only 1).
                                                                                                                [Attach additional page as necessary to list all parties]
                                                                                                                                                                            Presumed Father:



                                                                Civil                                                                                                           Fan ily Law
           .       .                                               .                                                                                  .. .    . ., . . ,
                                                                                                                                                                   -                      P ost-judgropt Actions
    ,      Contract -                          ' Injury or Damage                                               Real Property                        Marriage*elationship                    (non-Titie ly-D)
Debt/Contract                              0Assault/Battery                                              ['Eminent Domain/                          ['Annulment                          0Enforcement
  III Consumer/DTPA                        0 Construction                                                   Condemnation                            ['Declare Marriage Void              0Modification—Custody
  ODebt/Contract                           ODefamation                                                   0 Partition                                Divorce                              0Modification—Other
  OFraud/Misrepresentation                 Malpractice                                                   0 Quiet Title                                  OWith Children
  0 Other Debt/Contract:                     ['Accounting                                                OTrespass to Try Title                         ONo Children                    0 Enforcement/Modif cation
                                             0 Legal                                                     00ther Property:                                                               OPaternity
Foreclosure                                  0 Medical                                                                                                                                  OReciprocals (GIFSA)
   0 Home Equity—Expedited                   0 Other Professional                                                                                                                       ['Support Order
   ['Other Foreclosure                           Liability:
0 Franchise                                                                                               ' Relafcd:t4
                                                                                                               . . . . CriMinal
                                                                                                                          „.   . ,                                                   .        .. .  ..    . .
0Insurance                                 ['Motor Vehicle Accident                                        '    : • :Matter&                            Other Family Law           Parent.;Child RelationShip
['Landlord/Tenant                          0 Premises                                                    0Expunction                                 0Enforce Foreign             ['Adoption/Adoption with
ONon-Competition                           Product Liabiliol                                             ['Judgment Nisi                                Judgment                     Tennination
0 Partnership                                ['Asbestos/Silica                                           ONon-Disclosure                             ['Habeas Corpus              0 Child Protection
El Other Contract:                           0 Other Product Liability                                   0 Seizure/Forfeiture                        OName Change                 0 Child Support
                                                List Product:                                            ['Writ of Habeas Corpus—                    ['Protective Order           0 Custody or Visitation
                                                                                                             Pre-indictment                          ['Removal of Disabilities    0 Gestational Parenting
                                           ['Other Injury or Damage:                                     0 Other:                                       of Minority            . OGrandparent Access
                                                                                                                                                     0 Other:                     OParentage/Paternity
                                                                                                                                                                                  OTermination of Parental
                                                                     ,                                                                                                                 Rights
         ' Employment •                                             0 he Civil
                                                                                                                                                                                  0 Other Parent-Child:
 0 Discrimination                           ['Administrative Appeal        OLawyer Discipline
 0 Retaliation                              0Antitrust/Unfair              OPerpetuate Testimony
 OTerrnination                                  Competition                0 Securities/Stock
 ['Workers' Compensation                    0 Code Violations              OTortious Interference
 0 Other Employment:                        ['Foreign Judgment             0 Other:
                                            ['Intellectual Property
             .. ..
      , • . . TaX . -                                                                                                          Probate & Menial Heald
  OTax Appraisal                            Probate/Wills/Intestate Administration                                                       O Guardianship—Adult
  OTax Delinquency                            ODependent Administration                                                                         0 Guardianship—Minor
  ['Other Tax                                 ['Independent Administration                                                                      ['Mental Health
                                              00ther Estate Proceedings                                                                         0 Other:

 3. Indicate rocedure or remed if ix • x litable (mayStlect more iliOn 1 :
  0Appeal from Municipal or Justice Court                   • Declaratory Judgment                                   OPrejudgment Remedy
  OArbitration-related                                      ['Garnishment                                            OProtective Order
  DAttachment                                               0 Interpleader                                           0Receiver                  .
  OBill of Review                                           ['License                                                ['Sequestration
  0 Certiorari                                              0Mandamus                                                OTemporary Restraining Order/Injunction
  0 Class Action                                            OPost-judgment                                           OTumover
 4. Indicate damages Sought- (do'n...9 sel&ci it isi'itainv kw wig).
  • Less than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
  ['Less than $100,000 and non-monetary relief
  ['Over $100, 000 but not more than $200,000
  ['Over $200,000 but not more than $1,000,000
   Dover $1,000,000
                                                                                                                                                                                                            Rev 2/13
Case 1:17-cv-00382-MAC Document 1-1 Filed 09/11/17 Page 50 of 57 PageID #: 53




                         EXHIBIT "4"
    Case 1:17-cv-00382-MAC Document 1-1 Filed 09/11/17 Page 51 of 57 PageID #: 54
                      RECEIPT FOR: FEES                               E-FILING

Cause No: E-0200489         Date: 8/08/17                  Receipt No: 390226
  Style: DAVID FISHER
       vs PRIMERICA LIFE INSURANCE COMPANY ET AL

 Paid By: DICK, ERIC B
 Amt Paid:      362.66 EFILE018689500-0         Bal Due:
   10.00     RECORDS MANAGEMENT               10.00        COURT RECORD PRESERVATIO
   10.00     RECORDS ARCHIVE FEE              82.00        COPIES
   50.00     COUNTY FILING FEE
   50.00     STATE FILING FEE
   10.00     LIBRARY FEE
   15.00     MEDIATION CENTER FEE
   15.00     STENO
    5.00     SECURITY FEE
   10.00     INDIGENT FEE
   42.00     JUDICIAL SUPPORT
    5.00     APPELLATE JUDICIAL SYSTE
   30.00     ELECTRONIC FILING FEE

                    JAMIE SMITH, CLERK DISTRICT COURTS
                        Jefferson County, Texas

                                       By:
                                             ODBC               Deputy
Case 1:17-cv-00382-MAC Document 1-1 Filed 09/11/17 Page 52 of 57 PageID #: 55




                         EXHIBIT "5"
      Case 1:17-cv-00382-MAC Document 1-1 Filed 09/11/17 Page 53 of 57 PageID #: 56

                                                                                                   Mu 1 1 I I I M 1 1 1 11111101 1111911_, 1 111
CITATION

                                                     THE STATE OF TEXAS
        No. E-0200489
             DAVID FISHER
         VS. PRIMERICA LIFE INSURANCE COMPANY ET AL
                                  CITATION
                                          172nd JUDICIAL DISTRICT COURT
                                           of JEFFERSON COUNTY, TEXAS
To:   PRIMERICA LIFE INSURANCE COMPANY
      BY SERVING ITS REGISTERED AGENT
      CT CORPORATION SYSTEM
by serving at:
 1999 BRYAN STREET
 SUITE 900
DALLAS, TX 75201-3136                                                                                                      DEFENDANT:

NOTICE:
          You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk who
issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days after you were served this citation and
petition, a default judgment may be taken against you. Said answer may be filed by mailing same to: District Clerk's Office, 1085
Pearl, Room 203, Beaumont, TX 77701, (or if the case is designated as an E-file case, E-file through Lexis Nexis file and
serve) or by bringing it to the office. The case is presently pending before the 172nd District Court of Jefferson County sitting in
Beaumont, Texas, and was filed on the 7th day of August, 2017. It bears cause number E-0200489 and is styled:
                                                                                                                                 Plaintiff
                    DAVID FISHER
          VS.
                    PRIMERICA LIFE INSURANCE COMPANY ET AL
                                                                                                                               Defendant:
           The name and address of the attorney for plaintiff (or plaintiff if pro se) is:
                                        DICK, ERIC B, Atty.
                                        4325 TULSA RD
                                        HOUSTON, TX 77092 0
         The nature of the demands of said plaintiff is shown by a true and correct copy of Plaintiff's PETITION (PLAINTIFF'S
ORIGINAL) ALSO ATTACHED LETTER DESIGNATING ALL CASES EFILE. accompanying this citation and made a part
thereof.
           Issued under my hand and the seal of said court, at Beaumont, Texas, this the 9th day of August, 2017.

                                                                     JAMIE SIVIITH, DISTRICT CLERK
                                                                     JEFFERSON COUNTY, TEXAS




                                                                      BY                                                  Deputy

                                                                     Valencia
      Case 1:17-cv-00382-MAC Document 1-1 Filed 09/11/17 Page 54 of 57 PageID #: 57


                                                            RETURN OF SERVICE
E-0200489                     172nd JUDICIAL DISTRICT COURT
DAVID FISHER
PRIMERICA LIFE INSURANCE COMPANY ET AL
Executed when copy was delivered:
This is a true copy of the original citation, was delivered to defendant                                            , on the        day of
                , 20     .
                                                                                                                             , Officer
                                                                                                                       , County, Texas
                                                                                         By:                                   , Deputy
ADDRESS FOR SERVICE:
PRIM E RICA LIFE INSURANCE COMPANY
BY S E RVI N G ITS REGISTERED AGENT


DALLAS, TX 75201 3136
                                                             OFFICER'S RETURN
Came to hand on the           day of                       , 20    , at                 , o'clock     .m., and executed in
                           , County, Texas by delivering to each of the within named defendants in person, a true copy of this Citation
with the date of delivery endorsed thereon, together with the accompanying copy of the Citation at the following times and places, to-wit:
Name                                   Date/Time                                Place, Course and Distance from Courthouse

And not executed as to the defendant(s),
The diligence used in finding said defendant(s) being:


and the cause or failure to execute this process is:

and the information received as to the whereabouts of said defendant(s) being:

FEES:
Serving Petition and Copy $
Total                                                                                                               , Officer
                                                                                                              , County, Texas

                                                                               By:                                   , Deputy

                                                                               Affiant
         COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF, CONSTABLE, OR CLERK OF THE COURT.
In accordance with Rule 107: The officer of authorized person who serves, or attempts to serve, a citation shall sign and return. The signature
is not required to be verified. If the return is signed by a person other than a sheriff, constable or the clerk of the court, the return shall be
signed under penalty of perjury and contain the following statement:
"My name is                                                     , my date of birth is                           , and my address is
                    (First, Middle, Last)

(Street, City, Zip)
I DECLARE UNDER PENALTY OF PERJURY THAT THE FORGOING IS TRUE AND CORRECT.

Executed in                        , County, State of            , on the            day of

                                                                               Declarant/Authorized Process Server

                                                                               (Id # expiration of certification)
Case 1:17-cv-00382-MAC Document 1-1 Filed 09/11/17 Page 55 of 57 PageID #: 58




                         EXHIBIT "6"
      Case 1:17-cv-00382-MAC Document 1-1 Filed 09/11/17 Page 56 of 57 PageID #: 59

                                                                                                    Mu 11 II 11 II 111 IMI 01 licitI11.1 11
                                                                                                                                          0.0!
CITATION

                                                   THE STATE OF TEXAS
         No. E-0200489
             DAVID FISHER
         VS. PRIMERICA LIFE INSURANCE COMPANY ET AL
                                  CITATION
                                        172nd JUDICIAL DISTRICT COURT
                                         of JEFFERSON COUNTY, TEXAS
To: WOODRUFF, ANTHONY
by serving at:
 28095 ROBINSON ROAD
CONROE, TX 77385-7525                                                                                                      DEFENDANT:

NOTICE:
          You have been sued. You may employ an attorney. If you or your attorney do not file a written answer with the clerk who
issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty days after you were served this citation and
petition, a default judgment may be taken against you. Said answer may be filed by mailing same to: District Clerk's Office, 1085
Pearl, Room 203, Beaumont, TX 77701, (or if the case is designated as an E file case, E file through Lexis Nexis file and
                                                                                      -         -


serve) or by bringing it to the office. The case is presently pending before the 172nd District Court of Jefferson County sitting in
Beaumont, Texas, and was filed on the 7th day of August, 2017. It bears cause number E-0200489 and is styled:
                                                                                                                                 Plaintiff:
                    DAVID FISHER
          VS.
                    PRIMERICA LIFE INSURANCE COMPANY ET AL
                                                                                                                               Defendant:
         The name and address of the attorney for plaintiff (or plaintiff if pro se) is:
                                     DICK, ERIC B, Atty.
                                     4325 TULSA RD
                                     HOUSTON, TX 77092 0
         The nature of the demands of said plaintiff is shown by a true and correct copy of Plaintiff's PETITION (PLAINTIFF'S
ORIGINAL) ALSO ATTACHED LETTER DESIGNATING ALL CASES EFILE. accompanying this citation and made a part
thereof.
         Issued under my hand and the seal of said court, at Beaumont, Texas, this the 9th day of August, 2017.

                                                                   JAMIE SMITH, DISTRICT CLERK
                                                                   JEFFERSON COUNTY, '1EXAS




                                                                    BY                                                    Deputy

                                                                   Valencia
      Case 1:17-cv-00382-MAC Document 1-1 Filed 09/11/17 Page 57 of 57 PageID #: 60


                                                            RETURN OF SERVICE
E-0200489                     172nd JUDICIAL DISTRICT COURT
DAVID FISHER
P RIM ERICA LIFE INSURANCE COMPANY ET AL
Executed when copy was delivered:
This is a true copy of the original citation, was delivered to defendant                                            , on the        day of
                , 20     .
                                                                                                                             , Officer
                                                                                                                       , County, Texas
                                                                                         By:                                   , Deputy
ADDRESS FOR SERVICE:
WOODRUFF, ANTHONY


CONROE, TX 77385 7525
                                                              OFFICER'S RETURN
Came to hand on the           day of                       , 20    , at                 , o'clock    .rn., and executed in
                           , County, Texas by delivering to each of the within named defendants in person, a true copy of this Citation
with the date of delivery endorsed thereon, together with the accompanying copy of the Citation at the following times and places, to-wit:
Name                                   Date/Time                                Place, Course and Distance from Courthouse

And not executed as to the defendant(s),
The diligence used in finding said defendant(s) being:


and the cause or failure to execute this process is:


and the information received as to the whereabouts of said defendant(s) being:

FEES:
Serving Petition and Copy $
Total                     $                                                                                         , Officer
                                                                                                              , County, Texas

                                                                               By:                                   , Deputy

                                                                               Affiant
         COMPLETE IF YOU ARE A PERSON OTHER THAN A SHER11414, CONSTABLE, OR CLERK OF THE COURT.
In accordance with Rule 107: The officer of authorized person who serves, or attempts to serve, a citation shall sign and return. The signature
is not required to be verified. If the return is signed by a person other than a sheriff, constable or the clerk of the court, the return shall be
signed under penalty of perjury and contain the following statement:
"My name is                                                     , my date of birth is                           , and my address is
                    (First, Middle, Last)

(Street, City, Zip)
I DECLARE UNDER PENALTY OF PERJURY THAT THE FORGOING IS TRUE AND CORRECT.

Executed in                       , County, State of             , on the            day of                             .

                                                                               Declarant/Authorized Process Server

                                                                               (Id # expiration of certification)
